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United States Bankruptcy Court for the:

District of
(State)

Case number (if known): Chapter_____ () Check if this is an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name QUINEBAUG CAMP PROPERTIES, LLC

2. All other names debtor used

in the last 8 years

Include any assumed names,

trade names, and doing business
as names

3. Debtor’s federal Employer 99 0655 932
Identification Number (EIN) _ ss eo.

4. Debtor’s address Principal place of business Mailing address, if different from principal place

of business

285 MAIN ST 127 SOCIAL ST

Number Street Number Street

SUITE 6 PO BOX 309
P.O. Box

WOONSOCKET, RI 02895 WOONSOCKET, RI 02895

City State ZIP Code City State ZIP Code

Location of principal assets, If different from
principal place of business

4 QUINEBAUG CAMP TR
Number Street

PROVIDENCE
County

JEWETT CITY, CT 06351
City State ZIP Code

5. Debtor's website (URL)

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Debtor

QUINEBAUG CAMP PROPERTIES, LLC

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Case number (i known),

Nama

6. Type of debtor

7. Describe debtor's business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor

within the last 8 years?

If more than 2 cases, attach a
separate list.

Official Form 201

Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C) Partnership (excluding LLP)
CJ Other. Specify:

A. Check one:

©) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C2 Railroad (as defined in 11 U.S.C. § 101(44))

O) Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

QO Clearing Bank (as defined in 11 U.S.C. § 781(3))

C) None of the above

B. Check all that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

C) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

U investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Avww.uscourts.gov/four-digit-national-association-naics-codes .

Check one:

QO Chapter 7
C) Chapter 9

Chapter 11. Check all that apply:
Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
4/01/25 and every 3 years after that).

U) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

C] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
chooses to proceed under Subchapter V of Chapter 11.
Q) A plan is being filed with this petition.

Q Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

QO) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

12b-2.
__U Chapter 12 _ _.
No
O) Yes. District When Case number
MM / DD/YYYY
District When Case number
MM/ DD/YYYY

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Debtor QUINEBAUG CAMP PROPERTIES, LLC Case number urknown
Name
10. Are any bankruptcy cases No
pending or being filed by a
business partner or an Q) Yes. Debtor Relationship
affiliate of the debtor? District When
List all cases. if more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

11. Why is the case filed in this Check all that apply:

district? = :
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district.

Oa bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have No

possession of any real (CI Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
property or personal property

that needs immediate Why does the property need immediate attention? (Check all that apply.)

attention?

O it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

(C2 tt needs to be physically secured or protected from the weather.

OQ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

Q) other

Where is the property?

Number Street

City State ZIP Code

Is the property insured?
OC) No

() Yes. Insurance agency

Contact name
Phone
si Statistical and administrative information
13. Debtor's estimation of Check one:
available funds Funds will be available for distribution to unsecured creditors.

C) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

1-49 (2 1,000-5,000 C2 25,001-50,000
14. Estimated number of OQ 50-99 QO) 5,001-10,000 Q 50,001-100,000
creditors D) 100-199 0) 10,001-25,000 O) More than 100,000
(J 200-999

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QUINEBAUG CAMP PROPERTIES, LLC

Case number (i known)

Debtor
Name
CJ $0-$50,000 (2 $1,000,001-$10 million O $500,000,001-$1 billion
15. Estimated assets 0D) $50,001-$100,000 OQ) $10,000,001-$50 million Q) $1,000,000,001-$10 billion
$100,001-$500,000 Q  $50,000,001-$100 million Q $10,000,000,001-$50 billion
O $500,001-$1 million Q $100,000,001-$500 million J More than $50 billion
oe C) $0-$50,000 QO) $1,000,001-$10 million Q) $500,000,001-$1 billion
16, Estimated liabilities O) $50,001-$100,000 QQ $10,000,001-$50 million O) $1,000,000,001-$10 bitlion
CI $100,001-$500,000 C2 $50,000,001-$100 million C2 $10,000,000,001-$50 billion
$500,001-$1 million QO) $100,000,001-$500 million CI More than $50 billion

aie Request for Relief, Declaration, and Signatures

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of “ss
petition.
debtor

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

1 declare under penalty of perjury that the foregoing is true and correct.

02/26/2025
MM 7 DD /YYYY

weil fo Gumi

Signature of authorizé’representative of debtor Printed name

Executed on

VINCENT J. BONO

Title MANAGER

18. Signature of attorney et fo JK Date KR [2A7/A25°

Sighature ol atiomey for debtor MM /DD /¥yyvy
—Tesogls eines b
— nante
a Suasa Lew Ce teks fds P
ifm name)
aot Soudt Wate y Sf.
Number Street A —~—
Colnston F ___ O2403
City State ZIP Code .
yO ahd 0733 ceegusle @ say elesgacher:
Céntact phone — ail address (0 Ay
Fal AL
Baf number State

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